             Case 19-11466-MFW         Doc 3105-1      Filed 11/13/21     Page 1 of 3




                                CERTIFICATE OF SERVICE

        I, Stuart M. Brown, hereby certify that on this 13th day of November, 2021, I caused a true

and correct copy of the Joinder of HSRE-PAHH I, LLC and Its Affiliates to Objections to Motion

of the Broad Street Entities and PAHH for Entry of an Order (I) Determining that the Automatic

Stay does Not Apply to Their Assets or (II) in the Alternative, Granting Limited Relief From the

Automatic Stay for Them to Sell, Transfer, or Otherwise Encumber Such Assets to be served via

CM/ECF upon the parties registered to receive CM/ECF and on the parties on the attached service

list via email.

                                                     /s/ Stuart M. Brown
                                                     Stuart M. Brown (DE#4050)




EAST\186241905.1
           Case 19-11466-MFW          Doc 3105-1    Filed 11/13/21    Page 2 of 3




                                       SERVICE LIST


Mark Minuti                                        Mark D. Collins, Esquire
Monique Bair DeSabatino                            Michael J. Merchant, Esquire
Jeffrey C. Hampton                                 Brendan J. Schlauch, Esquire
Adam H. Isenberg                                   Travis J. Cuomo, Esquire
Saul Ewing Arnstein & Lehr LLP                     Richards, Layton & Finger, P.A.
1201 N. Market Street, Suite 2300                  One Rodney Square
P.O. Box 1266                                      920 North King Street
Wilmington, DE 19899                               Wilmington, DE 19801
mark.minuti@saul.com                               collins@rlf.com
monique.disabatino@saul.com                        merchant@rlf.com
jeffrey.hampton@saul.com                           schlauch@rlf.com
aisenberg@saul.com                                 cuomo@rlf.com
mark.minuti@saul.com
                                                   Suzzanne Uhland, Esquire
Seth A. Niederman                                  Robert Malionek, Esquire
Fox Rothschild LLP                                 Tianjiao “TJ” Li, Esquire
919 North Market Street, Suite 300                 Gregory Mortenson, Esquire
Wilmington, DE 19899                               Danielle Elizabeth Sekerak, Esquire
sniederman@foxrothschild.com                       Alexandra Marie Zablocki, Esquire
                                                   Latham & Watkins LLP
Andrew H. Sherman                                  1271 Avenue of the Americas
Boris I. Mankovetskiy                              New York, NY 10020
Sills Cummis & Gross P.C.                          suzzanne.uhland@lw.com
One Riverfront Plaza                               robert.malionek@lw.com
Newark, NJ 07102                                   Tj.li@lw.com
asherman@sillscummis.com                           Gregory.mortenson@lw.com
bmankovetskiy@sillscummis.com                      Danielle.sekerak@lw.com
                                                   Alexandra.zablocki@lw.com
Benjamin A. Hackman
Office of the United States Trustee                John T. Carroll, III, Esquire
J. Caleb Boggs Federal Building                    Cozen O’Connor
844 King Street, Suite 2207                        1201 N. Market Street, Suite 1001
Lockbox 35                                         Wilmington, DE 19801
Wilmington, DE 19801                               jcarroll@cozen.com
benjamin.a.hackman@usdoj.gov




EAST\186241905.1
           Case 19-11466-MFW     Doc 3105-1   Filed 11/13/21   Page 3 of 3




Cindi M. Giglio, Esquire
Jerry L. Hall, Esquire
Katherine Scherling, Esquire
Grace A. Thompson, Esquire
Katten Muchin Rosenman LLP
575 Madison Avenue
New York, NY 10022-2585
cgiglio@katten.com
jerry.hall@katten.com
katherine.scherling@katten.com
grace.thompson@katten.com

Edward Moss, Esquire
William David Pollak, Esquire
Abby F. Rudzin, Esquire
O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
emoss@omm.com
wpollak@omm.com
arudzin@omm.com

Joel Freedman
2304 Hermosa Avenue
Hermosa Beach, CA 90154
jfreedman@pldn.com

Kyle Schmidt
528 N. Elena Ave.
Redondo Beach, CA 90277
kschmidt@pldn.com




EAST\186241905.1
